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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE
LITIGATION

THIS DOCUMENT RELATES TO
ALL ACTIONS

MDL No. 1456

Civil Action No. 01-CV-12257 PBS
Judge Patti B. Saris

REQUEST FOR ADMISSION PRO HAC VICE FOR MICHAEL DESIMONE

Undersigned counsel requests admission pro hac vice pursuant to Case Management

Orfer (“CMO”) No. 1, section V., paragraph 16, which states:

Each attorney not a member of the Bar of this Court who is acting
as counsel for a Plaintiff or Defendant herein and who is in good standing
in any district court of the United States shall be deemed admitted pro hac
vice to practice before this Court in connection with this action upon

payment of the appropriate filing fee.

Pursuant to CMO No. 1, attached as Exhibit A is the Declaration of Michael DeSimone

in Support of the Application for Admission Pro Hac Vice.

Dated: July 8, 2010

NEWYORK 7711112 (2K)

Respectfully Submitted,

Mada) Reda
Michael DeSimone
WHITE & CASE LLP
1155 Avenue of the Americas
New York, NY 10036

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Fax: (212) 354-8113

Attorney for Sandoz Inc.
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CERTIFICATE OF SERVICE

I hereby certify that on July 8, 2010, I caused a true and correct copy of the
REQUEST FOR ADMISSION PRO HAC VICE FOR MICHAEL DESIMONE and
EXHIBITS A and B thereto to be served on all counsel of record by electronic service, in

accordance with Case Management Order No. 2, by sending a copy to LexisNexis File &
Serve for posting and notification to all parties.

/s/ Jacqueline Chung
Jacqueline Chung

NEWYORK 7711112 (2K)
